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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 PATRICK R. SMITH, et al.                              )
                                                       )
                               Plaintiffs,             )
                                                       )
                          v.                           )        No. 2:20-cv-00630-JMS-DLP
                                                       )
 WILLIAM P. BARR, et al.                               )
                                                       )
                               Defendants.             )

               Order Denying in Part Plaintiffs' Motion for Finding of Contempt

        This Court entered an order on January 11, 2021, enjoining the defendants from carrying

 out executions without taking certain safety precautions to minimize the risk of spreading

 COVID-19 to the plaintiffs. Dkt. 56. The first precaution listed is, "The defendants will enforce

 mask requirements for all staff participating in the executions." Id. at 1.

        The plaintiffs have presented evidence that personnel in the execution chamber did not

 comply with mask requirements. Dkts. 61-1, 62-2, 62-3. They have also filed a motion seeking an

 order directing the defendants to show cause why they should not be held in contempt for violating

 the Court's injunction. Dkt. 61.

        The defendants have presented evidence that the personnel who removed their masks did

 so (1) briefly and (2) to ensure clear communication at particular key moments of the execution

 process. See dkt. 63-1, ¶¶ 6−10 (Rick Winter Declaration Jan. 15, 2021).

        There is conflicting evidence about the amount of time the relevant officials were

 unmasked in the execution chamber. Moreover, the Court recognizes the need for clear

 communication at certain crucial points in the execution process. The plaintiffs' motion, dkt. [61],

 is therefore denied in part. The Court shall not stay executions pending a ruling on the motion to
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 show cause. Nor shall the Court prohibit the officials who removed their masks during the

 execution on January 14, 2021, from participating in the execution on January 15, 2021.

        However, the defendants shall ensure that these two officials shall not have close contact

 with any FCC Terre Haute personnel, beginning immediately and for the remainder of the officials'

 time at FCC Terre Haute in January 2021. "Close contact" shall be defined as "being within 6 feet

 of a person for a cumulative total of 15 minutes or more over a 24-hour period." The defendants

 shall certify compliance with this requirement in accordance with the terms in the Court's order

 dated January 11, 2021.

        The Court may set a hearing for additional factfinding in a future order.

        IT IS SO ORDERED.


        Date: 1/15/2021
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